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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


 TRAVIS SINEGAL                                     DOCKET NO. 6:21-cv-1849
                                                        SECTION P

 VERSUS                                             JUDGE DAVID C. JOSEPH

 K.P. GIBSON, ET AL                                 MAGISTRATE JUDGE WHITEHURST

                          REPORT AND RECOMMENDATION

         Before the court is a civil right complaint filed by plaintiff Travis Sinegal, who is

 proceeding pro se and in forma pauperis. This matter has been referred to the undersigned

 for review, report, and recommendation in accordance with 28 U.S.C. § 636 and the

 standing orders of this court.

    I.      Background

         Before the court is the civil rights complaint (42 U.S.C. § 1983) of pro se plaintiff,

 Travis Sinegal, filed on June 25, 2021.      Sinegal was incarcerated at the Acadia Parish

 Correctional Center (ACC) in Crowley, Louisiana at the time he filed the instant suit

 alleging inadequate medical care. Rec. Docs. 1, 4.

         On February 1, 2022, the plaintiff was ordered to amend his complaint to provide

 additional information regarding his suit and cure certain deficiencies. Rec. Doc. 8. That

 order was mailed to plaintiff at the ACC, yet was returned on February 7, 2022, marked

 “return to sender.” Rec. Doc. 10.
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    II.      Law & Application

          Federal Rules of Civil Procedure Rule 41(b) permits dismissal of claims “for failure

 of the plaintiff to prosecute or to comply with ... any order of court...” The district court

 also has the inherent authority to dismiss an action sua sponte, without motion by a

 defendant. Link v. Wabash R.R.Co., 370 U.S. 626, 630-31 (1962). “The power to invoke

 this sanction is necessary in order to prevent undue delays in the disposition of pending

 cases and to avoid congestion in the calendars of the [d]istrict [c]ourts.” McCullough v.

 Lynaugh, 835 F.2d 1126, 1127 (5th Cir.1988). This power is “vested in courts to manage

 their own affairs so as to achieve the orderly and expeditious disposition of cases.” Link,

 370 U.S. at 630-31. Sinegal has failed to comply with an Order directing him amend his

 complaint. This failure on his part warrants dismissal.

          Further, Local Rule (LR) 41.3W provides in part, “The failure of a[]... pro se litigant

 to keep the court apprised of an address change may be considered cause for dismissal for

 failure to prosecute when a notice is returned to the court for the reason of an incorrect

 address and no correction is made to the address for a period of thirty days.” Petitioner did

 not inform the Court of an address change within thirty days of his transfer or release.

    III.     Conclusion

          Accordingly,

          IT IS RECOMMENDED that Sinegal’s complaint be DISMISSED in accordance

 with the provisions of FRCP Rule 41(b) and Local Rule (LR) 41.3W.

          Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) business days from service of this
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 report and recommendation to file specific, written objections with the Clerk of Court. A

 party may respond to another party’s objections within fourteen (14) days after being

 served with a copy of any objections or response to the district judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within fourteen

 (14) days following the date of its service, or within the time frame authorized by

 Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual findings or

 the legal conclusions accepted by the District Court, except upon grounds of plain error.

 See, Douglass v. United Services Automobile Association, 79 F.3d 1415 (5th Cir. 1996).

        THUS DONE AND SIGNED in Chambers this 15th day of March, 2021.




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